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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  HERITAGE FOUNDATION et. al,

            Plaintiffs,

  v.
                                                             Civil Action No. 23-1198 (CJN)
  U.S. DEPARTMENT OF HOMELAND
  SECURITY

            Defendant.


                                    JOINT STATUS REPORT

       Pursuant to the Court’s May 11, 2023 Minute Order, Plaintiffs The Heritage Foundation

and Mike Howell (“Plaintiffs”) and Defendant the U.S. Department of Homeland Security

(“Defendant”) respectfully submit the following joint status report regarding Plaintiffs’ Motion for

Preliminary Injunction.

       1.        The parties propose that Defendant’s opposition to Plaintiff’s motion (ECF No. 10)

be due on May 26, 2023 and that Plaintiff’s reply be due on June 2, 2023.

       2.        The parties request a hearing on the motion. The parties are generally available

June 6-9, 2023 for a hearing.

       3.        The parties do not anticipate any disputes of fact at this time between their

respective declarants and do not believe that an evidentiary hearing will be necessary.

       4.        Because Plaintiffs do not have complete knowledge of the position Defendant

intends to take in its Opposition, Plaintiffs reserve the right to supplement the evidentiary record.

Should Plaintiffs feel supplementation is necessary they will immediately notify counsel for

Defendant and the Court.
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Dated: May 15, 2023                          Respectfully Submitted,

 /s/ Samuel Everett Dewey                    MATTHEW M. GRAVES, D.C. Bar # 472845
 SAMUEL EVERETT DEWEY                        United States Attorney
 (No. 999979)
 Chambers of Samuel Everett Dewey, LLC       BRIAN P. HUDAK
 Telephone: (703) 261-4194                   Chief, Civil Division
 Email: samueledewey@sedchambers.com

 DANIEL D. MAULER                            By: /s/ John J. Bardo
 (No. 977757)                                JOHN J. BARDO, D.C. Bar # 1655534
 The Heritage Foundation                     Assistant United States Attorney
 Telephone: (202) 617-6975                   601 D Street, N.W.
 Email: Dan.Mauler@heritage.org              Washington, D.C. 20530
                                             (202) 870-6770
 ROMAN JANKOWSKI                             John.Bardo@usdoj.gov
 (No. 975348)
 The Heritage Foundation                     Attorneys for the United States of America
 Telephone: (202) 489-2969
 Email: Roman.Jankowski@heritage.org

 Counsel for Plaintiffs




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